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                       EXHIBIT A
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COSTELLO & MAINS, LLC
By: Daniel T. Silverman, Esquire
Attorney I.D. No. 017582008
18000 Horizon Way, Suite 800
Mount Laurel, NJ 08054
(856) 727-9700
Attorneys for Plaintiff

                                                 :
EUDONE WILLIAMS,                                 :   SUPERIOR COURT OF NEW JERSEY
                                                 :   CAMDEN COUNTY - LAW DIV.
                      Plaintiff,                 :
                                                 :          CIVIL ACTION
vs.                                              :
                                                 :
ALUMINUM SHAPES L.L.C. and JOHN                  :   DOCKET NO:
DOES 1-5 AND 6-10,                               :
                                                 :
                      Defendants.                :   COMPLAINT AND JURY DEMAND


        Plaintiff, Eudone Williams, residing in Voorhees, New Jersey, by way of Complaint

against the defendants, says:

                                     Preliminary Statement

        This matter is opened to the Court alleging and unlawful termination under the New

Jersey Family Leave Act (“FLA”) and federal Family and Medical Leave Act (“FMLA”).

                                     Identification of Parties

        1.     Plaintiff Eudone Williams is, at all relevant times herein, a resident of the State of

New Jersey and was an employee of the defendants.

        2.     Defendant Aluminum Shapes L.L.C. is, at all relevant times herein, an entity

conducting business at 9000 River Road, Delair, New Jersey and was the employer of the

plaintiff.




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        3.      Defendants John Does 1-5 and 6-10, currently unidentified, are individuals and/or

entities who, on the basis of their direct acts or on the basis of respondeat superior, are

answerable to the plaintiff for the acts set forth herein.

                                        General Allegations

        4.      Defendants employed plaintiff from in or about June 2016 until his unlawful

discharge in or about October 2017.

        5.      Defendants employed plaintiff as a production assistant and crane operator.

        6.      At all times, plaintiff performed up to and beyond the reasonable expectations of

his employer.

        7.      Defendants are covered employers under both the FLA and FMLA.

        8.      Plaintiff was an eligible employee under both the FLA and the FMLA.

        9.      Plaintiff has a minor daughter he has been diagnosed with sickle cell anemia and

liver related conditions.

        10.     In or about June 2017, plaintiff applied for and was granted intermittent leave to

care for the serious health condition of his daughter.

        11.     On or about September 13, 2017, plaintiff’s daughter was admitted to the hospital

with a fever and it was thereafter determined that she would require a liver transplant.

        12.     On September 18, 2017, an application for continuous leave to care for plaintiff’s

daughter’s serious medical condition was submitted to defendant’s human resources office.

        13.     Such leave would have been protected under both the FLA and FMLA.

        14.     During the first week of October 2017, plaintiff contacted defendant’s human

resources representative, Steven Robinson, to update the company his daughter’s medical

condition, as she had required a second transplant.




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          15.   Approximately three or four days later, Mr. Robinson responded that plaintiff was

in violation of the company’s attendance policy.

          16.   Plaintiff replied that he had submitted a FMLA application on September 18,

2017, but Mr. Robinson responded that they had never received the paperwork and a letter of

termination had been sent to the plaintiff.

          17.   Plaintiff later confirmed with his doctor’s hospital that the FMLA application had,

in fact, been transmitted to the defendants.

          18.   A determinative and/or motivating factor in plaintiff’s discharge was an intention

to retaliate against plaintiff for having exercised his right to FLA and/or FMLA leave.

          19    In addition and/or in the alternative, a determinative and/or motivating factor in

plaintiff’s discharge was an intention to interfere with plaintiff’s right to FLA and/or FMLA

leave.

          20.   As a result of the actions of defendants, plaintiff has been forced to suffer both

economic and emotional harms.

          21.   Because the actions described herein were purposeful, egregious and intentional,

and because members of defendant’s upper management participated in and/or were willfully

indifferent to the same, punitive damages are warranted.

                                               COUNT I

                                    Retaliation Under the FLA

          22.   Plaintiff hereby repeats and realleges paragraphs 1 through 21, as though fully set

forth herein.

          23.   For the reasons set forth above, the defendants are liable to plaintiff for retaliation

under the FLA.




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       WHEREFORE, plaintiff demands judgment against the defendants jointly, severally and

in the alternative, together with compensatory damages, non-economic compensatory damages,

punitive damages, interest, cost of suit, attorneys’ fees, enhanced attorneys’ fees, equitable back

pay, equitable front pay, equitable reinstatement, and any other relief the Court deems equitable

and just.

                                             COUNT II

                                   Retaliation Under the FMLA

       24.      Plaintiff hereby repeats and realleges paragraphs 1 through 23, as though fully set

forth herein.

       25.      For the reasons set forth above, the defendants are liable to plaintiff for retaliation

under the FMLA.

       WHEREFORE, plaintiff demands judgment against the defendants jointly, severally and

in the alternative, together with compensatory damages, non-economic compensatory damages,

liquidated damages, interest, cost of suit, attorneys’ fees, enhanced attorneys’ fees, equitable

back pay, equitable front pay, equitable reinstatement, and any other relief the Court deems

equitable and just.

                                             COUNT III

                                   Interference Under the FLA

       26.      Plaintiff hereby repeats and realleges paragraphs 1 through 25, as though fully set

forth herein.

       27.      For the reasons set forth above, the defendants are liable to plaintiff for

interference under the FLA.




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       WHEREFORE, plaintiff demands judgment against the defendants jointly, severally and

in the alternative, together with compensatory damages, non-economic compensatory damages,

punitive damages, interest, cost of suit, attorneys’ fees, enhanced attorneys’ fees, equitable back

pay, equitable front pay, equitable reinstatement, and any other relief the Court deems equitable

and just.

                                              COUNT IV
                                  Interference Under the FMLA

       28.      Plaintiff hereby repeats and realleges paragraphs 1 through 27, as though fully set

forth herein.

       29.      For the reasons set forth above, the defendants are liable to plaintiff for

interference under the FMLA.

       WHEREFORE, plaintiff demands judgment against the defendants jointly, severally and

in the alternative, together with compensatory damages, non-economic compensatory damages,

punitive damages, interest, cost of suit, attorneys’ fees, enhanced attorneys’ fees, equitable back

pay, equitable front pay, equitable reinstatement, and any other relief the Court deems equitable

and just.

                                              COUNT V
                                   Request for Equitable Relief
       30.      Plaintiff hereby repeats and realleges paragraphs 1 through 29, as though fully set

forth herein.


       31.      Plaintiff requests the following equitable remedies and relief in this matter.


       32.      Plaintiff requests a declaration by this Court that the practices contested herein

violate New Jersey law as set forth herein.



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       33.     Plaintiff requests that this Court order the defendants to cease and desist all

conduct inconsistent with the claims made herein going forward, both as to the specific plaintiff

and as to all other individuals similarly situated.


       34.     To the extent that plaintiff was separated from employment and to the extent that

the separation is contested herein, plaintiff requests equitable reinstatement, with equitable back

pay and front pay.


       35.     Plaintiff requests, that in the event that equitable reinstatement and/or equitable

back pay and equitable front pay is ordered to the plaintiff, that all lost wages, benefits, fringe

benefits and other remuneration is also equitably restored to the plaintiff.


       36.     Plaintiff requests that the Court equitably order the defendants to pay costs and

attorneys’ fees along with statutory and required enhancements to said attorneys’ fees.


       37.     Plaintiff requests that the Court order the defendants to alter their files so as to

expunge any reference to which the Court finds violates the statutes implicated herein.


       38.     Plaintiff requests that the Court do such other equity as is reasonable, appropriate

and just.


       WHEREFORE, plaintiff demands judgment against the defendants jointly, severally and

in the alternative, together with compensatory damages, non-economic compensatory damages,




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punitive damages, interest, cost of suit, attorneys’ fees, enhanced attorneys’ fees, equitable back

pay, equitable front pay, equitable reinstatement, and any other relief the Court deems equitable

and just.

                                              COSTELLO & MAINS, LLC



                                              By: /s/ Daniel T. Silverman______
Dated: May 23, 2018                                   Daniel T. Silverman




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                            DEMAND TO PRESERVE EVIDENCE

        1.     All defendants are hereby directed and demanded to preserve all physical and

electronic information pertaining in any way to plaintiff’s employment, to plaintiff’s cause of

action and/or prayers for relief, to any defenses to same, and pertaining to any party, including,

but not limited to, electronic data storage, closed circuit TV footages, digital images, computer

images, cache memory, searchable data, emails, spread sheets, employment files, memos, text

messages and any and all online social or work related websites, entries on social networking

sites (including, but not limited to, Facebook, twitter, MySpace, etc.), and any other information

and/or data and/or things and/or documents which may be relevant to any claim or defense in this

litigation.

        2.     Failure to do so will result in separate claims for spoliation of evidence and/or for

appropriate adverse inferences.

                                              COSTELLO & MAINS, LLC


                                              By: /s/ Daniel T. Silverman______
                                                      Daniel T. Silverman


                                        JURY DEMAND

        Plaintiff hereby demands a trial by jury.

                                              COSTELLO & MAINS, LLC



                                              By: /s/ Daniel T. Silverman______
                                                      Daniel T. Silverman




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                                 RULE 4:5-1 CERTIFICATION

        1.      I am licensed to practice law in New Jersey and am responsible for the captioned

                matter.

        2.      I am aware of no other matter currently filed or pending in any court in any

                jurisdiction which may affect the parties or matters described herein.

                                              COSTELLO & MAINS, LLC



                                              By: /s/ Daniel T. Silverman______
                                                      Daniel T. Silverman



                             DESIGNATION OF TRIAL COUNSEL

        Daniel T. Silverman, Esquire, of the law firm of Costello & Mains, LLC, is hereby-

 designated trial counsel.

                                              COSTELLO & MAINS, LLC



                                              By: /s/ Daniel T. Silverman______
                                                      Daniel T. Silverman




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                        Civil Case Information Statement
 Case Details: CAMDEN | Civil Part Docket# L-001931-18

Case Caption: WILLIAMS EUDONE VS ALUMINUM                        Case Type: EMPLOYMENT (OTHER THAN CEPA OR LAD)
SHAPES L.L. C.                                                   Document Type: Complaint with Jury Demand
Case Initiation Date: 05/23/2018                                 Jury Demand: YES - 6 JURORS
Attorney Name: DANIEL T SILVERMAN                                Hurricane Sandy related? NO
Firm Name: COSTELLO & MAINS, LLC                                 Is this a professional malpractice case? NO
Address: 18000 HORIZON WAY STE 800                               Related cases pending: NO
MT LAUREL NJ 080544319                                           If yes, list docket numbers:
Phone:                                                           Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : WILLIAMS, EUDONE                      transaction or occurrence)? NO
Name of Defendant’s Primary Insurance Company
(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? YES
 If yes, is that relationship: Employer/Employee
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 05/23/2018                                                                                     /s/ DANIEL T SILVERMAN
 Dated                                                                                                            Signed
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